                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF ALASKA

  RAYMOND C. GIVENS,                    )
                                        )
            Plaintiff,                  )
                                        )
      v.                                )
                                        )
  JOSEPH DELIA,                         )
                                        )
            Defendant.                  ) Case No. 3:23-cv-00121-HRH
                                        )

 (PROPOSED) ORDER DENYING MOTION FOR PREJDUGMENT WRIT OF
                       ATTACHMENT

      Upon consideration of the Plaintiff’s Motion for Prejudgment Writ of Attachment,

and the Defendant’s Opposition, the motion is hereby DENIED.

      IT IS SO ORDERED.

      DATED this _______ day of ______________, 2024, at Anchorage, Alaska.



                                       ________________________________
                                       The Honorable H. Russel Holland
                                       United States District Judge




Givens v. Delia                                        Case No. 3:23-cv-00121-HRH
(Proposed) Order Denying Motion for Prejudgment Writ of Attachment       Page 1 of 1

       Case 3:23-cv-00121-HRH Document 56-1 Filed 06/26/24 Page 1 of 1
